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                             EXHIBIT 17

                             In Support of

            United States’ Reply to Defendants’ Oppositions to
     United States’ Second Motion for Partial Summary Judgment and
     United States’ Response to Cross-Motions for Summary Judgment
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 1                UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA
 2
 3
         IN RE: OIL SPILL                 MDL NO. 2179
 4       BY THE OIL RIG
         "DEEPWATER HORIZON"              SECTION:       J
 5       IN THE GULF OF
         MEXICO, ON APRIL                 JUDGE BARBIER
 6       20, 2010                         MAG. JUDGE SHUSHAN
 7




13
14
              Deposition of PAUL A. CHANDLER,
15     taken in the Pan American Life Center,
       Bayou Room, 11th Floor, 601 Poydras Street,
16     New Orleans, Louisiana 70130, on Wednesday,
       May 4, 2011.
17
18
       APPEARANCES:
19
20                LIEFF CABRASER HEIMANN & BERNSTEIN,
                  LLP
21                (By: Steven E. Fineman, Esquire and
                        Annika K. Martin, Esquire)
22                250 Hudson Street
                  8th Floor
23                New York, New York 10013-1413
                      (Plaintiff's Steering Committee)
24
25

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 1                      It was generally up to the
 2     individual user.            The operations group
 3     would be the official download where they
 4     would collect that data.                But generally,
 5     the work flow was on a user specific type
 6     basis.
 7     EXAMINATION BY MR. FINEMAN:
 8             Q.       Did Anadarko, to your knowledge,
 9     have a central file room or space where all
10     of the downloads from WellSpace were kept?
11             A.       I believe that's correct.
12             Q.       And do you know who the
13     custodian of that file was?
14             A.       I don't know specifically.
15             Q.       All right.         But would it be
16     within the operations group?
17             A.       I don't know that specifically,
18     either.
19             Q.       Okay.      Do you know whether
20     Anadarko prepared any internal reports or
21     memoranda concerning the contents of
22     WellSpace data review?
23             A.       I'm not aware of it, no.
24             Q.       What were your personal
25     practices concerning downloading

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 1     information from WellSpace?
 2             A.       I would download data as I
 3     needed it, as it became available.                     I would
 4     put that in a shared file that our asset
 5     team could access.
 6                      And that's where the data was
 7     kept for our asset team.
 8             Q.       Is asset team the same as
 9     development?
10             A.       It is in this case, yes.
11             Q.       Okay.      But in this case?
12             A.       Right.      Asset team could be a
13     team used to assess development projects.
14     It could even be in regard to exploration
15     projects.        In this case, it was an
16     exploration project.
17             Q.       Okay.      How did you decide
18     whether or not you'd check WellSpace to see
19     if there was anything there that you wanted
20     to download?
21             A.       It would depend on what was
22     going on at the well at the time.
23     Generally I would check WellSpace for
24     information.
25                      If we were, if we were drilling,

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 1     I would probably check it once a day to get
 2     information.          As we got closer to our
 3     primary objective, I would check it more
 4     often.
 5                      If I knew that we weren't
 6     drilling for whatever reason, I might not
 7     check it that day.
 8             Q.       Okay.      Do you have records of,
 9     yourself, of the -- all the material that
10     you downloaded from WellSpace?
11             MS. WILMS:
12                      Object to form.
13     EXAMINATION BY MR. FINEMAN:
14             Q.       I think you might have answered
15     this question already.
16             A.       Yeah.      We have files set up for
17     our asset team that has the data that we
18     downloaded from WellSpace.
19             Q.       Okay.      Were you satisfied,
20     personally, that is, were you satisfied
21     with the information that you could obtain
22     via WellSpace?
23             MS. WILMS:
24                      Object to form.
25             THE WITNESS:

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 1             Q.       Okay.      Did Anadarko have a
 2     policy about when Anadarko personnel should
 3     be looking at the INSITE Anywhere® feed?
 4             MS. WILMS:
 5                      Object to the form.
 6             THE WITNESS:
 7                      Not a specific policy.               It was
 8     assumed that we would look at as it needed
 9     to be looked at.
10     EXAMINATION BY MR. FINEMAN:
11             Q.       How would you know when it
12     needed to be looked at?
13             A.       It would depend on what was
14     going on on the well.              If the well wasn't
15     drilling there wouldn't be a great need to
16     look at it.         But as the well was drilling,
17     of course there's a need to look at it in
18     regards to understanding how fast the
19     well's drilling, how quickly we might reach
20     our TD.
21                      And then ultimately once we got
22     to our main pay zone, our reservoir, it was
23     assumed that the geologist, myself
24     specifically, would be looking at INSITE
25     Anywhere® to get a first look at what the

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 1     reservoir rock would look like.
 2             Q.       Okay.      And did you do that?
 3             A.       I did.
 4             Q.       And specifically, what were you
 5     looking for?
 6             A.       I was looking for the presence
 7     of pay, I was looking for the presence of
 8     the reservoir rock that we had predicted, I
 9     was looking to see what the thickness of
10     that rock would be, I was looking to see if
11     there would be an indication of whether it
12     was hydrocarbon filled or water filled.
13                      I was looking to see where
14     structurally this formation would be seen
15     to see how it fit our current mapping.
16             Q.       And you could see all that out
17     of, through the information obtained
18     through INSITE Anywhere®?
19             A.       I could see all that through
20     INSITE Anywhere®.            You couldn't do detailed
21     log analysis on it, but you could answer
22     basic questions about the reservoir through
23     INSITE Anywhere®.
24             Q.       And were you logged on to INSITE
25     Anywhere® on April 19th or 20th?

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